              Case 5:18-cv-06228-EJD Document 59 Filed 08/12/20 Page 1 of 2




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17 Attorneys for Defendants

18                                  UNITED STATES DISTRICT COURT

19                               NORTHERN DISTRICT OF CALIFORNIA

20                                          SAN JOSE DIVISION

21   INTERNATIONAL TECHNOLOGICAL                       )   Case No. 5:18-cv-06228-EJD
     UNIVERSITY FOUNDATION, INC.,                      )
22                                                     )   Hon. Edward J. Davila
                           Plaintiff,                  )
23                                                     )   NOTICE OF SETTLEMENT
             v.                                        )
24                                                     )
     CHAD F. WOLF, in his official capacity as Acting )
25   Secretary of the Department of Homeland Security, )
     et al.,                                           )
26                                                     )
                           Defendants.                 )
27                                                     )

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     NOTICE OF SETTLEMENT
     18-6228 EJD
               Case 5:18-cv-06228-EJD Document 59 Filed 08/12/20 Page 2 of 2




 1          Plaintiff, International Technological University Foundation, Inc. (“ITU”), and Defendants, Chad

 2 F. Wolf, in his official capacity as Acting Secretary of the Department of Homeland Security, United

 3 States of America, U.S. Department of Homeland Security, and U.S. Immigration and Customs

 4 Enforcement, Student and Exchange Visitor Program (together, “Defendants”) (hereafter collectively

 5 referred to as “the Parties”), respectfully inform the Court that the Parties have agreed to a settlement in

 6 principle. The Parties request that all case management dates, including the hearing on Plaintiff’s

 7 motion for preliminary injunction (ECF No 26) and Defendants’ motion to dismiss (ECF No. 27) and

 8 the initial case management conference, be vacated. The Parties anticipate filing a stipulation of

 9 dismissal within 60 days.

10 Dated: August 12, 2020

11                                                   Respectfully Submitted,

12    MORRISON & FOERSTER LLP                          DAVID L. ANDERSON
                                                       UNITED STATES ATTORNEY
13

14
      By: /s/ Joshua Hill                              By: /s/ Michelle Lo
15        JOSHUA HILL JR.                                  Michelle Lo
                                                           Assistant United States Attorney
16
           Attorneys for Plaintiff                          Attorneys for Federal Defendants
17         INTERNATIONAL
           TECHNOLOGICAL UNIVERSITY
18         FOUNDATION, INC.
19

20
                                              ECF ATTESTATION
21
            In accordance with Civil Local Rule 5(i)(3), I, Michelle Lo, attest that I have obtained
22
     concurrence in the filing of this document from the other signatory listed here.
23

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     NOTICE OF SETTLEMENT
     18-6228 EJD
